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ORIGINAL

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 11
SIMMONS BEDDING COMPANY, et al., Case No. 09-14037 (MFW)
Reorganized Debtors.' Jointly Administered

Re: Docket No. 353

 

 

FINAL DECREE PURSUANT TO 11 U.S.C. § 350(a),
FED. R. BANKR. P. 3022, AND DEL. BANKR. L. R. 5009-1
CLOSING THE REORGANIZED DEBTORS’ CHAPTER 11 CASES

Upon the motion, dated March 11, 2011 (the “Motion”),” of Simmons Bedding
Company and certain of its affiliated debtors in the Chapter 11 Cases (collectively, the
“Debtors”*), pursuant to section 350(a) of the Bankruptcy Code, Bankruptcy Rule 3022, and
Local Rule 5009-1, for entry of a decree closing the Debtors’ Chapter 11 Cases; and the Court
having been satisfied that the confirmed Plan for the Debtors has been consummated and it
appearing that the Debtors’ estates have been fully administered; and the Court having

jurisdiction to consider the Motion and the relief requested therein in accordance with 28 U.S.C.

 

' The Reorganized Debtors in these chapter 11 cases, along with the last four (4) digits of each
Reorganized Debtor’s federal tax identification number, are: Simmons Company (6221); Bedding
Holdco Incorporated (5929); Simmons Bedding Company (5743); The Simmons Manufacturing Co.,
LLC (0960); Windsor Bedding Co., LLC (8616); World of Sleep Outlets, LLC (0957); Simmons Contract
Sales, LLC (2016); Dreamwell, Ltd. (2419); Simmons Capital Management, LLC (2470); and Simmons
Export Co. (1370). Dreamwell, Ltd. and Simmons Capital Management, LLC maintain their respective
principal corporate offices at 2215-B Renaissance Drive, Suite 12, Las Vegas, Nevada 89119. Each of
the other Reorganized Debtors maintains its principal corporate office at One Concourse Parkway,
Atlanta, Georgia 30328.

’ Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in
the Motion.

7On January 20, 2010, following the occurrence of the effective date of the Second Amended
Joint Plan of Reorganization of Simmons Bedding Company, Et Al. Under Chapter 11 of the Bankruptcy
Code, dated January 4, 2010, the Debtors emerged as the reorganized debtors (collectively, the

“Reorganized Debtors”).

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§§ 157 and 1334; and consideration of the Motion and the relief requested therein being a core
proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to
28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having been provided in
accordance with Local Rule 5009-1(b), as set forth in the Motion, and it appearing that no other
or further notice need be provided; and the Court having found and determined that the relief
sought in the Motion is in the best interests of the Debtors, their estates, creditors, and all other
parties in interest and that the legal and factual bases set forth in the Motion establish just cause
for the relief granted herein; and after due deliberation and sufficient cause appearing therefor, it
is:

ORDERED that the Motion is GRANTED as provided herein; and it is further

ORDERED that the cases of Simmons Company, No. 09-14038 (MF W); Bedding
Holdco Incorporated, No. 09-14042 (MFW); Simmons Bedding Company, No. 09-14037
(MFW); The Simmons Manufacturing Co., LLC, No. 09-14044 (MFW); Windsor Bedding Co.,
LLC, No. 09-14041 (MFW); World of Sleep Outlets, LLC, No. 09-14039 (MFW); Simmons
Contract Sales, LLC, No. 09-14040 (MFW); Dreamwell, Ltd., No. 09-14045 (MFW); Simmons
Capital Management, LLC, No. 09-14043 (MFW); and Simmons Export Co., No. 09-14046
(MFW), are hereby CLOSED; provided, however, that the Court shall retain jurisdiction as
provided for in the Confirmation Order and the Plan; and it is further

ORDERED that entry of this Final Decree is without prejudice to the rights of the
Reorganized Debtors or any party in interest to seek to reopen the Chapter 11 Cases for cause;
and it is further

ORDERED that the Reorganized Debtors are authorized and empowered to take

all actions necessary or appropriate to implement the relief granted in this Order; and it is further

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ORDERED that notwithstanding the possible applicability of Bankruptcy Rule
6004(h), 7062, 9014 or otherwise, the terms and conditions of this Order shall be immediately
effective and enforceable upon its entry; and it is further

ORDERED that to the extent that this Order is inconsistent with any prior order or
pleading with respect to the Motion in these cases, the terms of this Order shall govern; and it is
further

ORDERED that this Court shall retain jurisdiction to hear and determine all
matters arising from or related to this Order.

Dated: March 29, 2011

Wilmington, Delaware WX BAD Se

THE HONORABLE MARY F, WALRATH
UNITED STATES BANKRUPTCY JUDGE

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